                         Case 3:16-bk-03913-JAF                 Doc 52       Filed 05/17/18          Page 1 of 2
                                               United States Bankruptcy Court
                                                Middle District of Florida
In re:                                                                                                     Case No. 16-03913-JAF
Lilly Josephine Real                                                                                       Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113A-3                  User: pcathy                       Page 1 of 1                          Date Rcvd: May 15, 2018
                                      Form ID: 3TAPNR                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 17, 2018.
cr             +Frank Polo,   1475 SW 8th St,   Apt 411,   Miami, Fl 33135-3891

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 17, 2018                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 15, 2018 at the address(es) listed below:
              Alexander G. Smith    alex@agsmithtrustee.com, FL52@ecfcbis.com
              Collette B Cunningham    on behalf of Defendant   United States Of America
               Collette.Cunningham@usdoj.gov,
               dajana.mihaljevic@usdoj.gov;Chantal.sabino@usdoj.gov;Brittany.Robinson2@usdoj.gov
              Edward P Jackson   on behalf of Plaintiff Lilly Josephine Real edward@edwardpjackson.com,
               traci@edwardpjackson.com,linda@edwardpjackson.com,jacksonpacer@gmail.com,
               christina@edwardpjackson.com;p.er70969@notify.bestcase.com
              Edward P Jackson   on behalf of Debtor Lilly Josephine Real edward@edwardpjackson.com,
               traci@edwardpjackson.com,linda@edwardpjackson.com,jacksonpacer@gmail.com,
               christina@edwardpjackson.com;p.er70969@notify.bestcase.com
              United States Trustee - JAX 13/7    USTP.Region21.OR.ECF@usdoj.gov
                                                                                            TOTAL: 5
                        Case 3:16-bk-03913-JAF               Doc 52     Filed 05/17/18      Page 2 of 2
[3TAPNR] [Notice to Appellant of Responsibilities]



                                                 UNITED STATES BANKRUPTCY COURT
                                                    MIDDLE DISTRICT OF FLORIDA
                                                      JACKSONVILLE DIVISION



In re:                                                                           Case No. 3:16−bk−03913−JAF
                                                                                 Chapter 7


Lilly Josephine Real
fka Lilliana Maria Real
3550 NW 83rd Avenue, #709
Doral, FL 33122




________Debtor(s)________/
                                           NOTICE TO APPELLANT OF RESPONSIBILITIES


    NOTICE IS GIVEN TO THE APPELLANT that the Appellant shall, within 14 days of the date the appeal was
filed, file with the Clerk of the United States Bankruptcy Court the following:
    1. Designation of the items to be included in the record on appeal and serve a copy upon the appellee;
    2. Statement of the issues to be presented and serve a copy upon the appellee; and
    3. Written request for the transcript and deliver a copy to the court reporter where the record designation includes
a transcript of any proceeding or a part thereof.



                                                       FOR THE COURT
                                                       Sheryl L. Loesch, Clerk of Court
                                                       300 North Hogan Street Suite 3−150
                                                       Jacksonville, FL 32202


           Copies furnished to:
           Frank E. Polo, Sr
           Edward P. Jackson
